                Case 3:24-cv-00180-HEH Document 5 Filed 03/21/24 Page 1 of 1 PageID# 23


                                               IN THI:: UNITED S'I'A'IES DIS'T'RICT COUR'T'
                                               FOR THE EASTERN DISTRICT OF VIRGINIA

       APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.l(E) AND LOCAL
                                        CRIMINAL RULE 57.4(E)
                      In. Case ·_N.un1ber 3:24-cv-00180-HEH  ' Case "N"  ame             Trus tees of the Plumbers & Steamfitters Union Local No. 10 Apprenticeship fund v. Napky


                      Party Represented by Applicant: _P_la_in_tif_f _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

                                                               PERSONAL STATEMENT

FULL NAME (no initials, please) _C_h_ar_le_s _W_ill_ia_m_G_il_lig_a_n _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Bar Identification Number 8606010129                     State _M_a....c.ry_la_nd_ _ _ __
Firm Name O'Donoghue & O'Donoghue, LLP
Firm Phone #_(2_0_2_) 3_6_2-_00_4_1_ _ __ _ _ _ Direct Dial #_(2_0_2)_2_1_4-_24_3_1_ _ __ _ __ _ FAX # (202)362-2640
E-iviail Address cgilligan@odonoghuelaw.com
Office Mailing Address 5301 Wisconsin Avenue NW, Suite 800, Washington , D.C. 20015

Name(s) of federal district court(s) in which I have been admitted _D_is_tri_ct_o_fC_ o_lu_m_b_ia_,M
                                                                                                   _ a_ry
                                                                                                       '-la_n_d_                    _     _ _ _ __ __ _ _ _ _ __


I ce1tify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pe1taining to my conduct or fitness as a
member of the bar.

I hereby ce1tifY that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

I am D am not [i]a full-time employee of the United States of America, and if so, req                                                                                               ission fee.




I, the undersigned, do certify that I am a member of the bar of this Comi, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant's personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.

                                                             (S/tfu!)      j(____________                                                                            March 21 , 2024
                                                                                                                                                                    (Date)
                                                             Jacob N. Szewczyk                                                                                        89617
                                                            (Typed or Printed Name)                                                                                 (VA Bar Number)
Court Use Only :

Clerk's Fee Paid Dor Exemption Granted D

The motion for admission is GRANTED O or DENIED 0




                              (Judge's Signature)                                                                               (Date)
